














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0121-07





ELAX GREEN BRADLEY, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS

HARRIS COUNTY





Per curiam.  KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the grounds and reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: April 25, 2007.

Do Not Publish


